                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division

IRA D. SOCOL,                                              )
                                                           )
                             Plaintiff                     )
                                                           )
                                                           )
v.                                                         )       No. 3:18cv00090
                                                           )
                                                           )
ALBEMARLE COUNTY SCHOOL BOARD                              )
                                                           )
       and                                                 )
                                                           )
MATTHEW S. HAAS, individually and as                       )
    Superintendent of Albemarle County Public              )
    Schools,                                               )
                                                           )
                      Defendants.                          )
                                                           )

 PLAINTIFF’S MOTION TO STRIKE OR DISREGARD EXTRANEOUS MATERIALS

       Plaintiff Ira D. Socol, by counsel, moves this Court to strike or disregard the extraneous

materials discussed in and appended to Defendants’ Supplemental Memorandum in Support of

Defendants’ Motion to Dismiss (ECF No. 15) (the “Supplemental Memorandum”). For the

reasons stated in the accompanying memorandum, the Plaintiff respectfully submits that Exhibits

C and D appended to the Supplemental Memorandum are outside the scope of documents

permitted to be considered by the Court on Defendants’ Motion to Defendants’ Motion to

Dismiss Complaint (ECF No. 4).

       WHEREFORE, Plaintiff Ira D. Socol respectfully moves the Court to strike Exhibits C

and D and any argument made pursuant to those exhibits, or otherwise disregard the same.




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                                                  Respectfully Submitted,

                                                  Ira D. Socol
                                                  By Counsel

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                             CERTIFICATE OF SERVICE

              I hereby certify that on February 22, 2019, I electronically filed the

foregoing paper with the Clerk of the Court using the ECF system, which will send

notification of such filing to the attorneys registered with the ECF system.

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